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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

  TYLER KLINGENSMITH                                                                     PLAINTIFF

  VS.                                       NO.    19-5185

  DEPUTY ADRIAN CRUZ,
  ROBIN HOLT, JOSEPH ALLEN,
  MEGAN RUTLEDGE, NICHOLAS
  GUERRERO, RANDALL McELROY,
  SGT. JOE ADAMS, ANTHONY COBB,
  SGT. BRADY, SGT. COGDILL, BENTON COUNTY,
  et al.                                                                             DEFENDANTS

                  BRIEF IN SUPPORT OF BENTON COUNTY DEFENDANTS’
                               MOTION FOR SANCTIONS

                                           INTRODUCTION

         Throughout the instant litigation, Plaintiff has bombarded the Court and the parties with

  irrelevant and vexatious “pleadings,” leading the Court to strike certain pleadings and refuse to file

  others. However, his latest tactic rises to a different level of disregard for the judicial process and

  human dignity. On September 13, 2021, the undersigned received from Plaintiff correspondence

  containing harassing and outrageous communications. That communication, filed under seal as

  Exhibit A to Defendants’ Motion for Sanctions, constitutes harassing communications, and is filled

  with outrageous comments veiled as legal arguments and citations. This communication was clearly

  meant to intimidate and/or make the undersigned uncomfortable or frightened.         Plaintiff’s action

  constitutes criminal activity under Arkansas law. (Ark. Code Ann. § 5-71-209 Harassing

  Communications). Plaintiff should not be allowed to disrespect undersigned, the law, or this Court

  by engaging in such reprehensible conduct.

         Federal courts have the inherent authority to sanction litigation abuses for vindication of

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  judicial authority. Chambers v. NASCO, Inc., 501 U.S. 32, 43–46, 111 S.Ct. 2123 (1991); see

  also Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015, 1035 (9th Cir. 2012). The Court also has

  the inherent authority to govern conduct by litigants and other individuals who come before the

  Court, whether that conduct occurs inside the courtroom or not. Isaacson v. Manty, 721 F.3d 533

  (8th Cir. 2013).

          Because of their very potency, inherent powers must be exercised with restraint and

  discretion. Chambers, 501 U.S. at 44 (quotation marks omitted). However, sanctions are available

  for willful actions, “including recklessness when combined with an additional factor such as

  frivolousness, harassment, or an improper purpose.” Fink v. Gomez, 239 F.3d 989, 993–94 (9th Cir.

  2001) (requiring inherent-authority sanctions to be supported by a specific finding of bad faith or

  conduct tantamount to bad faith); F.J. Hanshaw Enters., Inc. v. Emerald River Dev. Inc., 244 F.3d

  1128, 1136 (9th Cir. 2001) (noting that a district court's findings in a sanctions case are “given great

  deference.”)

          Plaintiff’s written communication with the undersigned is filled with inappropriate sexual

  references and even a pop-up “card” designed to harass the undersigned. His bizarre and bigoted

  metaphors attempt to dismiss the role and intelligence of the undersigned and of women in the

  courtroom generally.     Sexually inappropriate remarks need not rise to the level of severe or

  pervasive before courts can intervene. Claypole, 2016 WL 145557, at *4 (sanctioning attorney, in

  part, for stating to opposing counsel; “Don't raise your voice at me. It's not becoming of a woman.”)

  By acknowledging and not trivializing the effects of sexual harassment on women, courts can work

  toward ensuring that no person will have to “run a gauntlet of sexual abuse in return for the privilege

  of being allowed to work and make a living.” Ellison v. Brady, 924 F.2d 872, 879–80 (9th Cir. 1991).


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         Sanctions may be imposed under a court's inherent authority on “parties appearing before

  [them] for acting in bad faith, vexatiously, wantonly, or for oppressive reasons,” Sassower v. Field,

  973 F.2d 75, 81-82 (2d Cir. 1992), cert. denied, 507 U.S. 1043 (1993), as well as for delaying or

  disrupting litigation, or for taking actions in the litigation for an improper purpose ––all of which

  are abusive of the judicial process, Chambers, 501 U.S. at 43-45. The litigant to be sanctioned must

  have engaged either “in bad faith or willful disobedience of a court's order,” Chambers v. NASCO,

  Inc., 501 U.S. 32, 46-47, 111 S.Ct. 2123 (1991), or conduct which constitutes, or is tantamount to,

  bad faith, Roadway Express, Inc. v. Piper, 447 U.S. 752, 767 (1980); Miller v. City of Los Angeles,

  661 F.3d 1024, 1036 (9th Cir. 2011); Gomez v. Vernon, 255 F.3d 1118, 1134 (9th Cir. 2001), cert.

  denied, 534 U.S. 1066 (2001); Fink v. Gomez, 239 F.3d 989, 993-94 (9th Cir. 2001). Upon one of

  the above requisite findings, courts can levy an assortment of sanctions under their inherent power,

  including monetary awards, attorneys' fees, adverse inference jury instructions, and dismissal of

  claims. Apple, Inc. v. Samsung Elecs. Co., Ltd., 881 F.Supp.2d 1132, 1135 (N.D. Cal. 2012)

  (collecting cases), as modified in Apple Inc. v. Samsung Elec. Co., Ltd., 888 F.Supp.2d 976, 1000

  (N.D. Cal. 2012).

         Faced with inappropriate and harassing communications from a pro se Plaintiff directed at

  defense counsel, the Court in Smith v. Allison, No. 110CV01814LJOJLTPC, 2016 WL 8849016, at

  *1 (E.D. Cal. Feb. 18, 2016) noted:

         This Court may choose any appropriate sanction “that will punish the past misconduct and
         prevent future misconduct.” Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1065 n.8
         (9th Cir. 2007). “[A]n assessment of attorney's fees is undoubtedly within a court's inherent
         powers.” Chambers, 501 U.S. at 45. Courts also have the inherent power to dismiss an action
         “when a party has ... engaged in conduct utterly inconsistent with the orderly administration
         of justice.” Anheuser–Busch, Inc. v. Natural Beverage Distribs., 69 F.3d 337, 348 (9th Cir.
         1991) (employing five-factor test); Halaco Eng'g Co. v. Costle, 843 F.2d 376, 380 (9th Cir.


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         1988) (holding that inherent-powers dismissals are justified in extreme cases and in response
         to abusive litigation practices).

  Id. at *1. The Report and Recommendation was subsequently adopted and the case was dismissed.

  See Smith v. Allison, 2016 WL 5339536 (E.D. CA. Sept. 22, 2016).

         Based on the outrageous and criminal conduct of the Plaintiff, Defendants ask this Court to

  issue sanctions against Plaintiff, whether by deeming the Defendants’ Statement of Indisputable

  Material Facts as admitted, or other actions such as issuing monetary sanctions or dismissal of his

  case, in accordance with the inherent power of the Court. Wescott Agri-Products, Inc. v. Sterling

  Bank, Inc., 682 F.3d 1091, 1095 (8th Cir. 2012) (“These inherent powers [of the district court] include

  the ability to . . . fashion an appropriate sanction for conduct which abuses the judicial process,

  including assessing attorney fees or dismissing the case.”) (internal citation and quotation omitted).

  The matter should be dismissed and Plaintiff should be barred from any future attempts at direct

  contact with the undersigned for any purpose.

                                                Respectfully submitted,

                                                DEPUTY ADRIAN CRUZ, DEPUTY JOSEPH
                                                ALLEN, MEGAN RUTLEDGE, NICHOLAS
                                                GUERRERO, SGT. JOE ADAMS, DEPUTY
                                                AUSTON COBB, SGT. TREY BRADY,
                                                SGT. KENNETH COGDILL, AND SHERIFF
                                                HOLLOWAY, et al., Defendants

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 15, 2021, I presented the foregoing to the Clerk of the
  Court for filing and uploading to the CM/ECF system, and I mailed the document by United States
  Postal Service to the following non-CM/ECF participant:

  Mr. Tyler Klingensmith
  ADC #170977
  North Central Unit
  10 Prison Circle
  Calico Rock, AR 72519

         I hereby certify that on September 15, 2021, I presented the foregoing to the Clerk of the
  Court for filing and uploading to the CM/ECF system which shall send notice to the following
  CM/ECF participant:

  Sara Monaghan (for Defendant Detective Jordan)
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  N. Little Rock, AR 72115
  smonaghan@arml.org

                                                        JaNan Arnold Thomas
                                                  JaNan Arnold Thomas, #97043
                                                  Attorney for Defendants




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